Case 1:18-cv-00993-LTS-SLC Document 504-1 Filed 06/14/23 Page 1 of 29
21 of 24

EXHIBITS

PLAINTIFF”S STATEMENT OF FACTS NO. 15 NO. 16 and__ NO. 17

EXHIBIT #1 A Norb Novocin Deposition Sept. 21, 2022 Page 38 A. Trombetta signature is
“garbled and_kinda hard to read”.

EXHIBIT #1 B Norb Novocin Deposition Sept. 21, 2022 Page 52 could not discern first
initial and Plaintiff’s last name.

EXHBIT #1 C Norb Novocin’s Sept. 21, 2022 Deposition Page 47 “A. Trombetta signature
photo “ only surviving photos from the alleged 2012 ad. Pl.Evid 000163.

EXHIBIT #1 D Norb Novocin’s Sept. 21, 2022 Deposition Page 31- 32, and pages 83 to 86,
regarding noted Tear” in the painting and Norb Novocin admission
there is no visible Tear in his photo entered into discovery or his
knowledge of any restoration

EXHIBIT #2 A Signatures by EAI and Plaintiff ’s childhood handwriting.
#2 B Pages 8 and 9 eBay Phone Transcript and PI. Evid. 000144 and 000158.
#2 C Norb Novocin Phone Transcript page 3 -signed Annamarie Trombetta

PLAINTIFF”’S STATEMENT OF FACTS NO. 3
EXHIBIT #3 Plaintiff Evid. 000072 Jan. 2015 email from Susan (Sudha) Goldstein
EXHIBIT #4 Plaintiff Evid.000073 Notarized Letter Susan Goldstein-Lost sale of artwork

EXHIBIT #5 Plaintiff Evid. 000074 Scott Goodwillie Letter/Email loss of interested
gallerists in Plaintiff’sartwork due to the EAI auction ad on WorthPoint’s
website.

EXHIBIT #6 Plaintiff Evid. 000075 Dr. Joseph Scelsa Letter/Email Fraudulent ad and
oil painting Jeopardizing Plaintiff’s future chances to exhibit at Italian
American Museum.

EXHIBIT #7 Plaintiff’s Evid. 000052 Plaintiff’s Evid. 000053 Plaintiff’s Evid. 000056
Listing of 1972 Original Oil Painting Man With Red Umbrella Signed with
Plaintiff’s solo - Italian American Museum Exhibit and website link
italianamericanmuseumexhibition On Site Plein air.html—

PLAINTIFF”S STATEMENT OF FACTS NO. 4

EXHBIT #8 000295 SEE ECF 503 SEE EXHIBIT #2 Copyright Deposit Pages in
Plaintff’s Evid. 000119, 000120, 0000121, 000122, 000123, 000124, 000125 and Plaintiff’s
Evid. 000126.
 

Case 1:18-cv-00993-LT. SEE Ds Filed 06/14/23 Pi 2 of 29

Page 38
1 N. NOVOCIN
2 words, the signature on the front of the
3 painting was a garbled and it was kind of
4; hard to read, when you turn it over, it had
5 Printed out what it was and if it were up
6 | to me, I would make it almost a law that

7 all the artists had to print out the actual
8 name and so forth. Because some artists
9 pictures are so, so hard to read. So this

10 allowed us to be able to look up Trombetta,

 

 

 

11, Annamarie. This one says Maria. I didn't

12 remember it saying Maria, but that's how I

13 looked it up.

14. MR. BIALEK: Marlene, can you

15 read back the beginning of his

16 answer.

17 (Whereupon, the referred to

18° answer was read back by the

19 Reporter).

20 Q. Mr. Novocin, in your practice |
21 of dealing with antiques, have you ever
22 encountered any ratings or stamps or labels

23 glued to the back of the painting?
24 A. Yes.

25 Q. In your experience, is there |

 

Veritext Legal Solutions
212-267-6868 www.veritext.com 516-608-2400

 
Case 1:18-cv-00993-LTS- “| SFE 504-1 5 ed 4/23 Page 3 of 29
Le lo ,

 

 

 

11
12
13a
14
15

16

 

17
18
19
20
21,
22
23
24

25

Page 52

N. NOVOCIN
yes.

QO. Again, this document shows the
signature and I think you testified earlier
that you did not find it legible when you
first saw the painting, correct?

A. Correct.

QO. When you looked at the back of
the stretcher and you saw the words
Annamarie Trombetta that we discussed
earlier, did it help you interpret what the
Signatures may have read?

A. It certainly interpreted the
last name. I couldn't do anything for that
fa-r'st =1nvtial.

Q. Taken together with the
information on the bottom, how did you

determine who may be the artist?

A. You have to rephrase that. I'm
sorry. You are going to have to rephrase
that. You got gunked [sic] up on the

internet.
Q. Actually, give me one second.
I have someone mowing the lawn outside of

my window. I'm going to try to shut the

 

“Veritext Legal Solutions

 

212-267-6868 www.veritext.com 516-608-2400
Case Re PS Filed 06/14/ Page ‘O
NEE (FE 7 C.

 

Page 47

1 N. NOVOCIN

2 EATOOO0024. I'm showing it to you at 150

3 percent and I have just scrolled from the

4 top to the bottom of the document. Mr.

5 Novocin, my question to you is, does this

° | image depict the signature that appeared on

7 the painting Man With A Red Umbrella?

8 A. Yes.

9 oO Is this one of the photographs
10 that was included in Estate Auctions Ebay
a listing for that painting?

12 | A. Yes.

ins Qn Sir, how do you know that?

14 A. Because if there's anything

15 that we have seen over and over is this

16 Signature. It came off of Worthpoint.

17 It's the only signature or only Picture

18 that survived on Worthpoint. Why, I don't
19 know. That's how we know. It just was

20 there.

 

21 Q. Let me just follow up with you |

22 on that. So as far as you know, you

Zs testified that Worthpoint doesn't sell any
| |

24, Paintings, correct?

25 | A. Correct.

Veritext Legal Solutions
212-267-6868 www.veritext.com 516-608-2400
10
ik
12
LS
14
1:5
16
17
18

19

20

2y

22

23

24

25

 

Case 1:18-cv-00 (2 SI T 1 Filed ~s | 7(- 29 poe]

 

Page 31
N. NOVOCIN

A. I sent them to him.

Q. Do you recall, how did you get
these pictures?

AS Yes. The person who --

Q. How?

A. The person that we sold the

painting to had since disbursed the

painting, whether she sold it or gifted it
to someone else. I called her up and asked
if she would be willing to take pictures of

the photo, being as we had no more -- no

 

longer had any photos of it. She made
arrangements to have that taken. The
reason I don't know who took the painting,
the photos of it is I don't know who she

gifted it to and I assume that's who took

 

the photos because it's in her or his
house. So they took the pictures and the
photos and they e-mailed them to the --
that person, the person who bought the
painting from us and then they e-mailed
them to us, they were ina large format and
I reduced them down to a smaller size that

was more susceptible to being able to

 

Veritext Legal Solutions

212-267-6868 www .veritext.com 516-608-2400

 
>» W NY HF

ul

Oo oOo ~T1 DH

Li

12

13

14

Logs

Case 1:18-cv- 93-LTS- -| OT 504-1, Filed 06444/23 of 29
Pze2

 

 

 

16,

17
18
19
20
21
22
23
24

25

212-267-6868 www.veritext.com 516-608-2400

Page 32

N. NOVOCIN
e-mail to Mr. Duff and that's probably

where the EAI came from us, Estate

Auctions, Incec., 000054. That's how we got
them. We reduced them and sent them onto
Mr. Duff.

Q. Mr. Novocin, do you recall the

tear in the painting that you mentioned?
Where on the painting was it located?

A. It was located if I recall
correctly, on the left-hand side just about
even with the knee or something of that
nature.

Q. We are looking right now at the
photograph on the painting and I have is
magnified at 50 percent. The screen is
about the knee level of the tear depicted
in the painting. Mr. Novocin, can you see
the tear in this image?

A. No.

Q. To your knowledge, was this
painting ever restored?

A. No, it was not.

Q. Does the image or do the images

in Defendant's Exhibit 1 fairly and

 

Veritext Legal Solutions

 
Case 1:18-cv-00993-LTS-SLC Document 504-1 Filed 06/14/23 }

Dp 3ei

 

 

 

Page 83
1 N. NOVOCIN
2 A. Yes.
3 QO. It mentioned that Annamarie
4 Trombetta, New York listed artist. Did you
5 use that phrase in the Ebay listing?
6 A. Yes.
7 Q. What did you mean by New York
8 listed artist?
9 A. It means she's from New York
10 and she is listed on one of the sites that
LL I got information from.
12, Q. Do you see where it says,
13 "Shabby chic condition"?
14 A. Yes.
15 Q. Did you put that phrase in?
16 | A. Yes.
17 Q. What does that mean to you?
18 | A. When I use shabby chic
19 condition, that means there is a flaw of

 

20 some type to the item that is being sold.

21° I was using that for years on anything that
22. has an issue. In this case, it has a tear
23 to it, therefore a shabby chic. My clients

24 when they say shabby chic, they know it's

25 not pristine, it's not brand new. It has

Veritext Legal Solutions
212-267-6868 www.veritext.com 516-608-2400
10,

11

12

L3

14 |

17

18

19

20

ZL

22

23

24

25

 

Case 1:18-cv-00993-LTS- “EY Hey 304-1 /- ART D of 29

fi) fst

 

Page 84

N. NOVOCIN
an issue.

Q. In fact you are explaining
further down in the listing, we are calling
it shabby chic as there is a tear in the
canvas, about 5/8th's of an inch long in
the man's knees, but still such a great
painting, correct?

A. Correct.

Q. This is the basis for you

calling it the shabby chic condition,

right?
A. Correct.
Q. In the next sentence it looks

like you are referring to Miss Trombetta's

biography as being taken off of askART, Poa 17

 

correct? eet fhe O75

A Correct

Q. You also referencing that neat! Wate

iY
=O /

askART received the biography or accrued

the biography from her website, correct?

A. Correct.

Q. The language that follows the
phrase website, specifically, "Annamarie
Trombetta, 1963", close parentheses, et

Veritext Legal Solutions

[

212-267-6868 www.veritext.com 516-608-2400

2
10

11

12

13)

14

15

16

17

18

19

20

21

22

23.

24

25

 

Case 1:18-cv-00993-LTS-S Docum CTEIB Rr (T4-7D 29 ( ee

 

 

Page 85

N. NOVOCIN

cetera, is that the text that you indicated
you copied from askART?

A. Correct.

Q. The date 1963, was that also
copied from askART?

A. Yes.

GO. Again, back when you composed
this listing, you did not focus on the date

of the artist, correct?

A. I did not focus on it.
Q. I'm going to show you the last
page of this document. Do you see at the

very bottom the document has some code,

right?

A. Right.

Q. In fact, it seems to read
"4SJpeg" in some of the codes. Do you see
that?

A. Yes.

Q. Does it indicate to you that's

probably images that were originally part
of the listing?
A. Yes.

Q. Above the code, the last

Veritext Legal Solutions

212-267-6868 www .veritext.com 516-608-2400
10
Li
12
13
14
15

16

17)
18 |

19

20
21
Zi
23
24

25

 

 

 

 

 

 

 

Page 86

N. NOVOCIN
sentence in the document seems to be, "TI
thank them for their help and guidance in

my life", period, and then there is a

symbol "TR", close symbol. Do you see
that?

A. Yes.

Q. Was this also the last sentence

of the listing that you had on Ebay?

A. I don't know if it is, but if I
can expand a second for this. Our software
that we use was custom written for us and
we would put pictures in the middle of our
descriptions and it would split the actual
description, so it could very well be that
is the last point that it is above the
pictures and then that would be continued,
the biography would be continued on the
bottom underneath it and there is a chance
that -- this is one of the things I have
been thinking of, why there was paragraphs
missing out of the biography when we copied
the whole biography. There was a chance
that when Worthpoint grabbed it, it came to

the codes for the pictures and it stopped

Veritext Legal Solutions

Case eee Cu 1 P| 06/14/23 Page 10 f 2

 

212-267-6868 www.veritext.com 516-608-2400
oA

1 of 29

= . worthpoint.com ies

 

 

'Orikes
akmarks Monu
rorted 1/19/93
3 Sajady

led folders
apty

tilla Firefox

w

a
Se

e

N

en"

=

on

©

OWL

Tw

a1

st

oO

i

c

oO

e

D>

Oo

o

Q

O

—!

”)

elp and Tutorials
ustomize Firefox
et Involved

pout Us

Case 1:18-cv-00993-LTS-

Plaintiffo00163

 

 

 

 

 

 

 

 

 
Case 1:18-cv-00993-LTS-SLC Document 504-1 Filed 06/14/23 Page 12 of 29
Lass

Le

 

NJ

Plaintiff000165

 

 

 

 
cument 504-1 Filed 06/14/23 Page 13 of 29

Plainvt’s Evidence

~ 2 Scenery tawiendnea

 
29

Case 1:18-cv-00993-LTS-SLC Document 504-1 Filed 06/14/23 Page

NUH IBS |

EBay Customer Service,
We can only provide if we have an item number. T can provide the item

number. All right.

 

00;14;38;18 - 00;14;41;13

Annamarie Trombetta
Thank you yy /
EBay Customer Service

please. Stay on the line.

00;14;41;13 - 00;14;41;26

Annamarie Trombetta i

I will. On VG fs 4,
C_ WILY

00;14;42;18 - 00;14;43;10
EBay Customer Service
I will Be placing you on hold.

 

00;14;43;19 - 00;14;45;01
Annamarie Trombetta
Thank you. Thank you.

00;14;46;11 - 00;14;48;06
EBay Customer Service
Thanks so much for staying on line here Anna

00;14;48;08 - 00;14;49;15
Annamarie Trombetta
Yes. And your name?

EBay Customer Service
Yeah, my name is Jamie,

00;14;53;05 - 00;14;57;27
Annamarie Trombetta
Jamie. Jamie, what do you mean by it was a third party seller.

00;14;58;17 - 00;15;01;06
Jamie EBay Customer Service
Um, it's like they're using a third party application.

00;15;02;18 - 00;15;03;10
Annamarie Trombetta
Who is using.

00715703710 - 00;15;09;11
Jamie EBay Customer Service
A open third party apps on their account. And regarding that, that is

actually not from ebay anymore.

00;15;09;17 - 00;15;12;14
Annamarie Trombetta
1:18-cv-00993-LTS-SLC Document 504-1 Filed 06/14/23 e 15 of 29
00;15;13;08 - 00;15;22;00

EM THAOIB Hig

OK, it's not from eBay, is it from WorthPoint?

Yeah. And I tried to get in touch with one of the experts regarding it,
and they have informed me that if you want to go ahead and get some
information on who is selling the item.

00;15;22;08 - 00;15;22;26 Vr
Annamarie Trombetta dy

Yes, FY AN Oo Oe
00;15;22;27 - 00;15;25;21 ya cd Usa, ONES

Jamie eBay Customer Service po
you can Get in touch with Worth Point and we do have their phone number. Wha
00;15;26;21 - 00;15;36;16 at
Annamarie Trombetta [ BA
OK, hold on one sec . Yes, I'm listening. What is it? fa

|

00;15;36;2A - 00;15;45;22
Jamie eBay Customer Service
Okay. The\phone number for WorthPoint contact information. Customer
00;15;46;12 00;15;56;24

service willl be 877 481-5750. IVT. C S
Annamarie Tro tta

Well, I did call enn vee oad that I had to get in touch with eBay
because if they don't sell anything, they're a database. So I keep going
back and forth.

 
 

     
       
  
       

    

 

 

00;15;59;16 - 00;16;10;12

Jamie eBay Customer Service

Let me try see at our end to maybe they provided information like a third
party app to give it to me tried to go ahead and provide that information
nere on eBay.

And do it again. OK,

Annamarie Trombetta ‘
OK. Because I still don't understand what you mean by third party. You're
saying that it is the responsibility of WorthFoiat to have that

information.

Jamie eBay Customer Service
Yes Maar

Annamarie Trombetta

Well, again, Worth Point keeps telling me that since they don't sell
anything and that it was sold on eBay in 2012 that you would be the
source of the seller Id.

00;16;42;26 - 00;16;55;26
Jamie eBay Customer Service
 

Case 1:18-cv-00993-LTS-SLC Document 504-1 Filed 06/14/23 Page 16 of 29

.nal Oil Painting Man With Red Umbrella Signed Annamarie Trombetta yqz (12/01/2012) 1/14/16, 42 AM

age Futter
: aomee > 2

Raw data from ebay
under sublkenge

Worthopedia™
price guide

 

Items in the Worthopedia are obtained exclusively from licensors and partners solely for our members’ research
needs.
If this item contains incorrect or inappropriate information please contact us here to flag it for review.

If you are the originator/copyright holder of this photo/item and would prefer it be excluded from our
community, contact us here for removal.

e Home > Worthopedia™ > 1972 Original Oil Painting Man With Red Umbrella Signed Annamarie
Trombetta yqz

1972 Original Oil Painting Man With Red Umbrella Signed Annamarie Trombetta yqz

e Sold for: Start Free Trial or Sign In to see what it's worth.
Item Category: -

e Source: eBay

Sold Date: Dec 01,2012

Channel: Online Auction

Welcome to EstateAuctionsInc! We are one of the Top Sellers of Antiques, Collectibles and Quirky items on
eBay. We have been selling since 1998 and ALL of our auctions start at .99 cents. We are proud to announce
that we maintain a "FIVE STAR Detailed Seller Rating" and our staff strives for 100% customer satisfaction,
our 100% feedback rating will vouch for that. We work with consigners from Coast-To-Coast and work hard to
make sure we have top quality items. We are "Your Quality Zone" - search "YQZ" to see our other listings our !

 

>>>>> UP IN THIS AUCTION <<<<< 1972 Original Oil Painting Man With Red Umbrella Signed Annamarie
Trombetta New York Listed Artist - Shabby Chic Condition

- DESCRIPTION - Please be patient there are 12 photos to be loaded in this auction. Up in this auction is a
wonderful and delightful oil on canvas painting of a man (I guess it could be a woman) with a red umbrella.
This is by Annamarie Trombette. It is signed on the bottom, but on the back it has written in red on the stretcher,
Annamarie Trombetta "Gifted" 1977, "Painted" 1972. To our eyes it looks like it is after the style of Andre
Kohn. It is quite large being approx. 48 1/2" tall and 17 1/2" wide. We are calling it shabby chic condition as it
has a tear in the canvas, about 5/8" long just to the left of the man's knees, but still such a great painting. For
those not familiar with Trombetta, here is information about her from off AskArt as they got it from her
website: Annamarie Trombetta (1963 - ) Lived/Active: New York The nature of an artist’s life, creativity and

Plaintiffo00158
http: | /vewws,worthpoint.com/worthopedia/ 1972-orlginal-oll-palnting-man-red-48924172 Page 2 of 7
 

Case 1:18-cv-00993-LTS-SLC Document 504-1 Filed 06/14/23 Page 17 of 29

1972 Original Oil Fainting Man With Red Umbrella Signed Annamarle Trombetta yqz (12/01/2012) 8/1/15, 8:46 PM

website: Annamarie Trombetta (1963 - ) Lived/Active: New York The nature of an artist’s life, creativity and
growth may be synonymously expressed in the image of an archetypal tree. Beginning with the earthly
descendent roots the artist like the tree branches out into its surrounding environmental and celestial world.
Both ascend and descend, widening their girth of consciousness while producing visual imagery, weathering
each season of change. Thus, I believe it is the nature of the artist and of nature itself to regenerate and manifest.
All of the imagery in this catalog was either created en plein air or from the subject directly. My journey to
becoming an artist began many years ago. The consanguineous roots of my Italian family tree provided me with
an innate constitution for my artistic profession. When I was a tiny seed of contemplative thought, my artistic
nature began to sprout interest while gazing up at the ceiling paintings in a neighborhood church named Regina
Pacis, meaning Queen of Peace. The church located in Brooklyn, NY features ceiling paintings, sculptures,
marble interiors, and incorporates architectural elements for the fagade and the belfry that are of Italianate
design. Before the age of three I was able to surmise that the church in the ceiling painting was indeed the
church I was in. The visual stimulation was a form of education. It fostered my sense of perception which
became my strongest mode for acquiring knowledge. As the years unfurled, my family moved to Staten Island.
At this time it was a scenic field of luminosity, lush vegetation and a harbor view complete with sail boats and
small yachts. A few years after we moved my tree of life was in jeopardy of loosing a limb. What appeared to
be a swollen leg was indeed a cancerous tumor. It was an almost fatal or perhaps even a fated occurrence in my
life. The struggle to survive the experience was lightened by my imagination and by my artistic ability to create.
I seriously thought I would go into medicine but the posters and paintings in the hospital and doctor’s office
held my attention more intensely. I began my formal training at The Brooklyn Museum School of Art while I
was in high school. The exposure to various forms of art inspired me to expand my horizons and in the early
Eighties I traveled on a summer tour to Europe. The tour comprised of six countries; Germany, Austria, France,
Italy, Switzerland and England. Viewing so many different cities and cultures in a concentrated peric i

  

Similar Items

No image
available

 

No image
available

° original oil painting on canvas

Plaintiff000159

o,f Powwavorthpaint.com,worthopedia {197 2-ariginal-oil-painting-man-red-45924172 Paga 3 of 7
 

Case 1:18-cv-00993-LTS-SLC at Filed 06/14/23 7 18 | Zo

A | A es Jha Avo 13, S55 AM

 

   

 

@ van. wertpcincom wonhapedia i572 ongualat-painiina: -man-ted- 459242 Pa oo @ iB ses search

isthe en iki eri seteiwaa eT ie Tas aie ae eee

Mews Es Agsources= Value k- Resemchit- Buy & Sell -

SROME > WATHOSIOU™ >
1O7> GRA MAL GIL RUT BLA WATH AbD UEP Sied Seo ASRS TRO RESTA PQS

 

   

1972 ORIGINAL OIL PAINTING MAN WITH RED | fae Vedtahie Qokeiteeen
UMBRELLA SIGNED ANNAMARIE TROMBETTA YO2 Signed AXIS
we SOD aby
OLD FOR: ce FEET so see what irs were, wa nite oxen
ITEM CATEGORY: 10K a
ne . sonar
SOLO HATE: Cecotan2 Spd aitté u
CHANNEL: Orkns Auction ae
| Callers OY Perdrg Lawacasa
Wal ac Ext" Gta Ce
Byaad atid
> Waktema to Estatadurticasicel We ara one of fhe To falerd of Are qued, Coledtibea ans | 14 omy

Crelray iors on ethay, We hive been selling sinte 1998 and ALL of our duction st.99
Ceres We de proud fo dicing Gast wee meceiainl a FIVE STAR Qesades Belay Aaning®
aed Gor grail riers foe 100% comereae ganiefaeton, our (Ory fodiens rating yell vouch:
for that Wa work with cons peers from Ceae-To-Coa and work hard ta mate ure we
heve top qyouliy itera. Wis ave "Your Chutlly dite" sauren YOR" tote Gur emer Dring
nur

HORRE SL aL pel

Paar UP IM TRS AUCTION scans 1972 Of Fog) Ol Penoeg Man With tes Linbrate
wy qe Bear Nevepres ap tere 0 Annariaca Tremble New Yous Litad Arif - Shesby Geen condiinn
wee epi ante apeestot "CISCRIPTIRNY Plaga Ea padu there ave 1 pheaos 19 be keadad In tis auenion. Lig in
Wig aun & s wenderlé and delghifal of or cannes paling of a mest Baas h coud
taa woman] with a red umbrata Th b by Anmarrare Torsten. it grad onthe
Flag bet fas etter dr rope bottom, bution te back it has written in ned on the stretcher, Annmarie Trombatia
“msad? 1977, Fanies® tite. Te cur ayes ht heeks Pee after the aie ef Andie Reba
ig gutta larga Being spares. 48 1/2" tafland $7 12° wide, We are celing k shabby chic
deere ition ag FE Aga a Gta Wh Che carbs, above 58" lorug [uate the Mf af cia man's ase,
bed stlisuchie greet panting. For thove nee facnifar vith Tremiatta, hares nfonmatken
eat har from off AskArt ag they gee it from her website: Annamaria Tromtatia 1962 «)
Lived Active: New York The nature of an artist's life, creaatty and growth may be
Anonymously expressed in the Image of an archrtypal tree, Degitebg with ihe earthly
RS0a EAL FOS The Betis like Tha rg Branching cutlinne (oF surreunsing ersinaneragrital
and celestial werd. Both ascend and descend, widening ther pith of consdous as while
Preguciag Upual lragery, weathering auch ceanen of change. Tras, | bednwe itis cha
calure of ihe atét and of nature heal te regenerate and marifes. Al ofthe imagery in
Sis catalog yeas ekner created en plist or of fromthe susject Orectty, My journey io
Eaevi tg an als Sagan many years ago. The conkarguingcas foscs of my talan family
Tee prowidad Mevenh an innate constiian for ery emetic peolession, Whan heasa Uy
sted of contemplative though my actistk necure began tosorourt Imerest while gating up
atthe ceding paintings ina naighbernoad church named Regina Fass, mearing Gaaen ot
Paada. Tra church located in Erockyn, NY faaiures ceding palmigs soulpcures, marbk:
Freeriors, and Incorporates erchitectural demers fer the focsde and tre beiry test are of
Halianate detge, Galore [he age of three bald able 16 Surmiga chat the fare is the
coiling paining vers indeed the church fwasin. The visual stimulation was a farm of
education. htrerered my sense of perception which tecime my srongest mode for
accpating kreswledge, Aa Che yard unfurled, fry ferridy mee be Stare Bled, AL hes fiero
ltwas a scenic fed of hursloesiiy, heh wegets lion and 4 harbor wey complete wilh ad
Ghats and otal yarhes A Gavysars alter me cheated tty tree od life ward if peoparey af
flooring 2 Grid. What apmeared to be aeecdien bog wins Inibed a cancerous tumor. b wid
on aimost fear perhace oven a fared eocerrence W ery! [fe The scrugele to sure the
esperlence was lighzened by my Imezinadonand ty my anistic abikthy to cresie, Iseriously
thargh would go inte ouadking but Stet posless.aml paitrings in the hospital and
doctor's effice held ny atrenGon mie ineencoty, | bagan ney formal raining ac The
firth Meru Glass of Art whele | werd in tts selene. The aa perooré to waritest foes
ofan itepires meio expand my horizons and inthe cary Eighties braved ono sucemer
tour to Burops, The Sour comprmed of gs: courtries: Germany, Aantcla, France, ay,
Qealverlans eral Crglaned waving so moory cbiferent cited and cftures ata foncertraced
perind cf tines.

 

 

 

Plaintiff000144
Case 1:18-cv-00993-LTS-SLC Document 504-1 Filed 06/14 3 Page 19 { 29 =,
———— ’
Plaintiff's Evidence Expert Dis. 000889 \ ( ( ( |
ee

Norb Novocin Jan.10, 2017 Phone Call Made to Plaintiff Bw a o>

Speaker 1 Novocin ‘/ .

!'m the seller. I sold this on eBay. at
00;02;58;00 - 00;03;42;14

Speaker 2 Trombetta

And you don't know how you acquired it,

 

   

Speaker 1 Novocin

l acquired it at an auction, somewhere. It could have been... 1 go to about four
auctions a week. I sell about 360 items every week. ...every week. Sonoldon’t
know which auction this came from.

Speaker 2 Trombetta

Well, since it's a painting, shouldn't it have had some kind of authenticity or ah uh
..as your wife said, provenance ?

speaker 1 Novocin

if it doesn’t have provenance... there's lots of paintings out there without a
provenance and so what we stated this ... We didn’t even state it was by you. We
just stated it was signed Annamarie Trombetta.

00;03;42;14 - 00;03;43;28
Speaker 2 Trombetta
Right And that's fraud,.sit
00;03;4.4;07 - 00;03;51:2¢
Speaker 1 Novocin

Why is that fraud ?

Speaker 2 Trombetta

Because, | did not do that painting, And I'm nota hack ofa painter, I'ma
professional painter.

00;03;52;03 - 00;03;52;21
Speaker ‘3. Novoci.
UES)

“neaker 2 Trombetta
 

Case 1:18-cv-00993-LTS-SLC Document 504-1 Filed 06/14/23 Page 20 of 29

Yahoo Mail - No Subject tT | Paint I BeNOTe
eae ie kt 1)

From: susan goldstein (goldenvoices@gmail.com)
To:  trombettaart@yahoo.com
Date: Friday, January 9, 2015, 12:13 PM EST

Dear Annamarie,
Congrats! The work was stunning and so were you. | hope you are experiencing great success!

As Lam in love with The Wisteria painting, how much is it?

oo ea a ae

Sudha aka Susan

 

 

ee

httos://mail.yahoo.com/d/search/name=Susan%2520Goldstein&emalls...ntacthis=1627. 2aac/messages/AMm_imlAABFeVLAMUQCGIOEFe2Y?.srcelp Page 1of 1
 

Case 1:18-cv-00993-LTS-SLC Documen 7 te 0

eee Tt Lf ae

Susan B, Goldstein
531 East 52nd Stroct AptS A
New York. New York 10092

goldenvolees@amatl.com

 

March 4, 2019
United States Southern vA

District of New York a r / Ce

500 Pearl Street ia OSS A

New York, New York 10007 a |

Res Sale of Oil Painting Wisteria Arbor Mandala bu Artist Annamarie Trombetta
To The Honorable Judge Roante Abrans:

], Susan 1. Goldstetn, arn extending this letter to the court on behalf of Artist Annamarte Trombelta in reference to the loss of asale

for one afher most beantiful paintings, Wisteria Arbor Mandala whtch is or her professlonal websile. |

I ana rwlhired Professor in the CoininunleaHona Dept. at Daruch College In New York City. | hinve heen familiar with the art isl
Annamarle Trombella lor quile some Lime, It wasn pleasure loaltend Ms, Trombette's opentryps and lectures al the Union League
Gallery on Park Avenue and The ltalian Amertean Museum in” Lite Tlaly”. Theexhibits wore speclarularand [felt compelled to

being Anmamarle's work to the atlention of my aunt who Is an avid art colleen,

Upon viewing the photos [rom Ms. Trombetta’s exhibitions my aunt was interested In purchasing the ail painting “Wisterla Arbor
Mandala” which was cighty five hundred dollars. This was o significant investment for her collection. My aunt's personal assistant
came upon a listing under Annamarte Trombella ba reference to on Oil painting done in 1972 that was damaged. The post was on

some stile Worthpoint which sells items of low quality and standard lo include: the works of "Thomas Kincald:.

‘Ns a result of this findings | phoned Ms. Trombetla about this Lissa under her name which she responded that she was nul aware of
the internet listing. Ms. Trombetta assured me that it was not her painting and did not know why her full name was associated with

suchasite. | enconraged Annamarle bo hry and have this horrible and dreadful listing removed from the internct at once.

My annals assistant did point out that the deseripHon on the Worthpoint Intermed site reference theartst Annamarte [rombetla's
website. The oll jrinting my ann wished lo purchase ison Annamarie’s website. The reference lo the webslle al Avkist Annamiarie
Teovaled la CTL the: Worthpoint sile is the: maln Peasant why my aunt deelded nol ko purchase the painting. lt was indeed al favoulke
lnage, however Lhe wnoint of money far the paining and the assoclatlon will such a “cheap and disc pulablestle” was loo
problemalte lo facilitate the sale of Annamarles lovely painting. Losing the sale of cighty five hundred dollars ts quilea

disappoinknentalas my att has quite a colloction of art and by not bo included di her collection isan even qrealer ralslorkuin.

Tels with my [ull support that applaud Ms. Trombetta with her legal pursuils, These unorthodox and disreputable interned sile have

« ieatedl so Tan] problems for Ms. Trombetla aba Hine when she should have boon celebrating dnd selling hex work and hes sneex S808.

eds ar ae 4,
4 S38 - Hf —- NAG iacel 4, 201%

f
\ (te
Peolessor Susan B, Goldstein Notary

  
 

 

re

MOVAMMED1 AL}
NOTARY PUBLIC, STATE OF NEW YORK
O1AL6196792
QUALIFIED IN OVEENS COUNTY
COMMISSION EXPIRES DECEMBER 17, 20.2
 

EPLBTIGP I GITLSPOTLI VER I Sstu=|duIsy ep 87 96h 16 IZESHSTLT VOI HPAL =pryrauadyy ye=yoasyid=malamwegepepgqga=yiy,9m/|newauOs' apo: peayesdiyy

 

BUOU! ALU LOS JUaS

POL0-P8L-979
All[|MPOOS “G HOOS
Alas290uIS

“WHOM,
Apna} $1! JEYM JO}-uONeIndes Pue SwOdUl S2Yoquiol, ‘siy payeye Ayeash sey jeepio siuy ‘AudesBoiq Jay 0} JXSU PeouaJaja! PUES painjes; oJoUd sem jeu} sinyeubis
SHE} SY] SACS OF OLY YNSIWIP B Yyons pey ays 1ey) paBesno we | pue aiqissod se woos SE JOUJS]U! SU} LUO. PSAOLUA! Yul] Bt} 365 0} EYSQuiOI| ‘sy pebesnosaue |

‘vOHeUssaude! Asie jo saryiqissod |je Papua yUI| JeWSyU! 94} yeu] eousLadxe
JEUOSISd WO Siu] 0} SSPE UED | “HIOMS,EYSQWOLL ‘sj Ul ]SeJaju! ayy peBeyoqes ‘seyajeb ayy Aq psvencosip aouo ‘Bunsi| jowelul su, ye uneyewe ue
PSJOPISUCD S| LUJOREI auljuo JeyjO Aue Jo Aegs uo Aeinsiped yrompe Bulljes euodue '¢1 QZ Jead aul ul AUeinomed ‘uy Jo paly |2uOIsSajo4d,, BY] UI SN Jo aso Jo4

‘pajsasaju| JeBuoj ou sem Aua]/e6 ayy so saumo ou) pue SsuweU SByequiOlL eueWeUUYy Jepun
Buys!) Aege uj puno; s}sajje6 ay} Jo auo ‘uoRoONpo.U! jeuosied e Buljnpayss uodn ‘ysnbny s}e] Ul “DAN 'BasjeyD Ul payeog) yjog Aleyeo ezzey pue ejoisor5
fT  payssisjul gem sejnayed ul seveyeb om! ‘sjoeyuod Aw Jo aWwOs 0} YIOMPe s.eyequioll “Sj JO SojOUd payUssaud | ‘GL OZ Jo JOWLUNS OUR Ul Jaye] SULOY)

 

{0A MAN Bulwed Ul LUNSSN Wy JOUy OU} Je JGIYXy |evORejuaseudey coOz snoiBysesd ay} Ul pepnjoul sem ays jjnses e sy

“ JEYSQ SPY Sqwol! “spy UO LueUYy UCP JOJOSJIG LUNSSAY JOU aL] 0} UOHONposjU Ue Spe | ZOOT Ul JOR} Ul Pu sed ey] UI OS SUOP peY| yWeUed Jey UO RasjayD
Ul MaUy | WOU s}sieyeb ym yeads 0} pazayo | ‘uoneyuesaidal (ueye6 aney jou pip eyequios! ‘syy Jey} PELWWOJU Sem | Udy, “*MOYS Jeu Ul Sederd yo Jaquinu
Bu] YM pue som Joy Aq passaudwi sem | “AUD OA MAN Ul SNUBAY ye UO AlaTeD qnip enBes) uoiup 8y) 38 UOqIUXe Ojos }suy Joy papUeye | gLOZ Avenue u|
"sIBak QUANY JAAC JO} UMOUY SABY | LUOUM BYequOl! aeWeUUYy Jo anBeajoo pue jse seuoissejod & we |

[UWa9U0D ABI YW WOUAA OL

<WOd ||PWHOsveweUUBjOUe> Byequiol) SUBWeULIY ‘Oo,

 

Case 1:18-cv-00993-LTS-SLC Document 504-1 Filed 06/14/23 Page 22 of 29

 

WY 1638 ZZ0Z ‘2 Udy ‘ny <WUOO'PNO|IGai|impooHyoos> sijjimpoosd 09g
eaBessow |

49997]

<WOS"|leWSOoeeweuvyjowes> eyequos) oeweuuy few ec) fe

JONIT - [muy | pL0000 ynuleid
Case 1:18-cv-00993-LTS-SLC Document 504-1 Filed 06/14/23 Page 23 of 29

e
Alm! EARY | CAnNn

MUS EUM

i Plaintiff 000075

Serie

NAY Bi

Joseph’V. Séelsa, Ed.D. ie Re 2022 ~

Founder and President To Whom It May Concern:
jvscetsa@

itsllanamericanmuseum.or | ary the Founder and President of the Italian American Museum in New York
T 212 965 S000 City. ,

C 917 642 4922

4 Mut
New Yok Nvidole In February 2015, Anna Marie Trombetta exhibited a one woman show at the

Italian American Museum entitled, “Central Park Imagery en Plein Air. Her work
was compelling and captured the elegance of Central Park in a profound way.
Her use of color, light, detail and perspective is truly a thing of beauty and grace
to behold.

| have been informed that someone has attempted to use her name on works not
of her creation. This in no way should be seen as a reflection on her works but
unfortunately it could devalue them.

| sincerely hope her name can be removed from any works not created by her. If
not it may jeopardize our ability to show her work in the future.

a :
{ ‘ Dr. Joseph V. Scelsa

y
‘

Administrative Office
1806 Hering Avenue ?
Bronx, NY 10461

www. ItalianAmericanMuseum.org
Case 1:18-cv-00993-LTS-SLC Document 504-1 Filed 06/14/23 Page 24 of 29

annamarie trombetta - Google Search Plaintiff 000052 12/19/15, 10:42 AM

 

Sire)

 

Goa gle annamarie trombetta

 

        

All Images Videos News Shopping Mora ¥ Searchtods 4 me .
ncn EEE Sr eg enem crn me arrest — f
about 93.400 results (0.47 seconds} i satel

f eee

& i e
1972 Original Oil Painting Man With Red Umbrella Signed ... i Benn ce
wewworhpolntcom » Worthapedia™ + # ba Neo
1972 Original Gil Painting Man With Red Umbrella Signed Annamarie Trombetta yqz. fy a }
Sold for: Start Free Tria! or Sign In to see whal its worth. Item Gategory: ... 4 \
You've visited ihis page d times. Last visit (2/a8/1S a
Annamarie Trombetta | Whitepages ‘ si

ww. whitepages. com/name/Annamarie-Trombetta ¥ \Vhitepages +
Find Annamarie Trombetta's phone number, address and more on Whitepages, the
most trusted online directory with contact infarmation for over $05 of US ...

artist annamarie trombetta's imagery offers visionary ... Wo oad

Halianamericenmuseum.orgmews/news_piein.html +
Arist Annamarle Trombetta's “Central Pars Imagery,” a collection of en plein air warks
in oils. pastels, watercolors, etchings and drawings wil be on display at...

‘You've visited this page 2 times Last visd 12/1116 >
Annamarie Trombetta on Paddles

httess/paddles. conVarists/annamarie-trom betta! +

Annamarie Trombetta Water Tower $300 Part of New York Academy of Art. You are

 

how following Annamarle Trombetta and will get email alerts when we add ..,

Annamarie Trombetta - Pollock Krasner Image Collection

www. pkE-imagecollection.org/arisi/A nnamarie_Trombetta/biegraphy/ +
Annamarle Trombetta, Cantact “Works. CONTACT. Annamarie Trombetta Studio; 175
Esst $6" Streat (14P) New York, N'¥ 10128, Phoney Fax: 212-427-5900_

You've visited this page 2 times. Last visil 12/15

annamarie trombetta - OneLook Dictionary Search
waww.onelook.conv?lang...annamarie+trombetta ¥ Onel.ook Dictionanes +
We found ane dictionary that indudes the word annarmarie trombetta: Art dictonanes
Art (matching dictionary), Annamari¢ Trombetta: Arist Search [ home, info] ..,

salem krieger on Twitter: "Painting Central, a short video ...
https:fftwittes.com/salemk/status'269681283083403264 +

.. Gsalemk 16 Nov 2042. Painting Central, a short video about Annamaria Trombetta a
painter working in Central Park, NYC. DiipUimeo.conv62924950 ...

You've visited this page ? times Last wisi, 72/515

Annamarie Trombetta attends the Sing for Hope pop up ...
www. gellyimages.cony.,./annamarie-trombetta,,.41550981.,. * Golly Images
Annamarie Trombetta attends the Sing for Hope pop up pianos launch at the Sing Far
Hope Piano Warehouse on June 7, 2041 in New York City. Get premium

annamarie trombetta Pictures & Images - Photobucket
photobucket. comimagaséinnamaries20trombetta +

Browse Annamarie Trombetta pictures, photos, images, GIFs, and videos oa
Photobucket.

Flickr: Annamarie Trambetta

hilpsfwvav flickr. com/peaple/annamarictrombettaart!

Annamarie Trombotta hasn't listed any cantacts yet. Testimonials (0}. Annamario
Yrombetta doesn't have any testimonials yet. Name: Annamarle Trombetta

Searches related to annamarie trambetta
artist annamaric trombetta anna mario lombatla

annamaric trombeta facebook judge asnannarie trombetta

https://www,google.com/search?q sannamariostrombetta&noj=1 &si...bhpaelelap1 ¥pKxMsPw-QHBlaviBQ&start=10&sasN&blwe t280&biha 604 Page 1 of 2
Case 1:18-cv-00993-LTS-SLC Document 504-1 Filed 06/14/23 Page 25 of 29

1972 original oil painting man with red umbrella signed annamario trombetta yqz - Google Search Plaintiff 000053

 

= 3 Sn eeeaK Sha aa
pains

 

‘ al Shopping Images Videos. News Mare ¥ Search tools

6 results (0.68 seconds)

1972 Original Oit Painting Man With Red Umbrella Signed ...
varw.warthpeint.com > Worthopedia™ +

1972 Original Oil Painting Man With Red Umbrella Signed Annamarie Trombetta
yqz. Sold for: Start Free Trial or Sign In to see what it's worth. Item Category: ...
You've visited this page many times. Last visit 12/20/15

Annamarie Trombetta - Artist Info

www.trombettaart.cominfo.himl ¥

EDUCATION 1999 - National Academy School of Fine Arts 1991 - William Butler Yeats
Sumner School, Slige,lreland 1989 - New York Academy of Art 1987 - Art...

Missing: 4972 of man red mince yaz

You've visited this page 4 times, Last wisi 14295

Annamarie Trombetta, Artist Interviewed by June Middleton ...
hitps:/iwww_youtube.comiwatch?v=uiEQ3D3LWms

Apr 20, 2076 - Uploadex! by JuneMindingBusiness

Annamarie Trombetta, an artist who's art has been exhibited
around the world, has creeted warks in oil

Missing: 4872 man red umbrella ya?

 

Artist's ferry suit sketchy, claims ‘brain damage’ - NY Daily ...

vwww.nydailynews.conv.../artis-annamarie-trombetta-claims-bra... Daily News

Dec 14, 2009 - Arist Annamarle Trombetta claims "brain damage’ in ferry suit. BY John
.. "Her reason for being is art,” lawyer Natascia Ayers said, "She was ..,

Miss ing: 40% ed red umbrelia yor

Paar Central - artist Annamarie Trombetta on Vimeo
vimeo.com > salem krieger> Videos = Vimeo =
Nov 6, 2012
Anist Annamaric Trombetta a NYC based painter working in
Cental Pak, A profile of Annamarie as an artist,

Missing, 4672 of pan red umbrella. ya

 

Page 7 - Italian American Museum
itslianamericanmuseum.org/exhibitions/Pleinairhtm +

Acclaimed artist Annamaric Trombetta presents a solo exhibition that ... Ms. Trombette
has created works in printmaking, watercolor, oll and pastel and is ... On view are works
of art executed in oils, pastels, watercolors, etchings and drawing,

Missing: 4042 man red uinbreta yaz

Original Oil Paintings - Original Art. Top Emerging Artists
vweww.ugallery.com/Buy-Original-Art ¥

Expertly Curated — Free Shipping!

7 Day In Home Trial - Free Returns - New Arf Released Weekly

Most Popular Artists - The Showroom - Staff Favorites - New Arrivals

Collectible Original Art - Say No to Prints and Reproductions
wwwizatista.com!

Over 7000 Completely Original Works

Affordavie - Free Relurns « No Reproductions - Free Shipping

Digital! Art - Browse Art to Buy - Original Paintings « Mixed Media “vt

hilpsi/éAwww.google.com/?clientesafanachannel=mac_bmichannel=m.,.+painting+manswith+red+umbrella+signed+annamarie+trombetlasygqz

 

Annamaria

a
=

1/5/16, 1:05 PM

o @

Pago 1 of 2
Case 1:18-cv-00993-LTS-SLC Document 504-1 Filed 06/14/23 Page 26 of 29
1972 original oll painting man with red umbrella signéd annamarle trombatla yqz - Google Search Plaintiff 000056 ‘2/5/16, 12:43 PM

—. a

Google 1972 original oil painting man with red umbrella signed annamarie trombett Annamaia HH = ®

All Shapping Images Videos News More ¥ Search tools = & mt

6 results (0.64 secands)

Original Oil Paintings - UGallery.com
(0) wvew.ugallery.com/Buy-Original-Art ¥ aa

Original Art. Top Emerging Artists. Expertiy Curated — Free Shipping!
Custom Packaging : Expertly Curated Pieces - New Art Released Weekly f
Most Popular Artists - The Showroom - Naw Arrivals - Staff Favorites |

1972 Original Oil Painting Man With Red Umbrella Signed ...
vww.worthpoint.com » Warthopedia™ +

1972 Original Oil Painting Man With Red Umbrolla Signed Annamarie Trombetta
yqaz. Sald for: Start Free Trial or Sign In ta see what it's worth. Item Category: ...
You've visited this page mary times. Last visit 2816

 

Page 1 - Italian American Museum
italianamericanmuseum,.ora/exhibitions/Pleinairhtm ¥

Acclaimed artist Annamarle Trombetta presents a solo exhibition that ... Ms. Trombetia
has created works in printmaking, watercolar, oil and pastel and is Known .., was an
exhibition of italian paintings from the collection of Gaetano Marzotto.

Missing: 4972 man red umbrella yee

www. nysun,.com/on-the-town/portrait-of-portrait-of-the-artist.../13079/

Apr 29, 2005 - Aman in the center - his face obscured by shadow - turns away and
tefuses .."" The whole feeting of the painting,” Mr Schwartz writes in the book, “was...
Others seen at the party were artist Annamarie Trombetta, who ,,, up in Queens and
attended an art class at the Little Red Schoal House. ... Sign up naw.

Missing: 4072 umbrale yee

‘You visited this page on 2/2/16.

A Portrait of ‘Portrait Of the Artist, Running’ - The New York Sun 3

Central Park's Plein Air Past | OutdoorPainter

www. outdoorpainter.com/central-park-s-plein-alr-past! ¥

So its perfectly natural thet plein air painting would go on in those choice ... “The
Destructive Dance of Sandy," by Annamarle Trombetta ... “Central Park Clackwork
Mode of Multicolored Apps,” by Annamarie Trombetta, oil and mixed media.
Missing: 4972 man red umbrella yqz

You've visited this page mary times. Last visit: 1/7/16

Penung Central - artist Annamarie Trombetta on Vimeo
vimeo.com > salem knegers Videos Vimeo +

Nov 6, 2012

Artist Annamarle Trombetta a NYC based painter werking in
Central Pak. A profile of Annamarie as an artist.
Missing: 4072 off pian red urabretia yore

 

°F12010 Newsletter - Artists' Fellowship, Inc.
www.artistsfellowship.org/AFNewsletter2010.paf +

Sep 22, 2010 - in 1972, he has guided its grow4h into the most widely ... Red Army in
Germany during World War II were still hidden in depositories ... Literature and later a
Masters of Fine Art in Painting and Art History. ... Annamarie Trombotta ... Rina
Gerevilz, Robert Strong, Dorothy Wiggins, Guy Wiggins, Pam Singleton.

Missing: unibrella yas

Ask Painting Appraisers - An Art Appraiser Will Answer Now

https://www.google com/?client=safariachannelamac_bom#channel=m...+painting+man+with+red+umbrellas signed+annamarie+trombetta+yqz Page 1 of 2
_Case 1:18-cv-00993-LTS-SLC Document 504-1 Filed 06/14/23 Page 27 of 29
Plaintiff 000120 Annamarie Trombetta

 

Etching Oil Painting Pastels Watercolor

  

hupsiivawywarombettaart.com!

HOME

VID
th

ARTISTINEO
BIOGRAPHY

CREDENTIA 5
CONTACT

al

New website for Annamarie Trombetta coming soon!

Hello, welcome to my website. The Media I work in are:

©Annamarie Trombetta. All rights reserved.

wpe | Af

 

  
Case 1:18-cv-00993-LTS-SLC Document 504-1 Filed 06/14/23 Page 28 of 29

Arndamenie hombetta

Plaintiff 000124

 

t [ if
ARTIST
HOME PORTFOLIO VIDEO INFO BIOGRAPHY GREDENTIALS CONTACT

AI] A TATA A TE A

AN
roganh te 2 ee

‘q i E a 1 R

i The nature of an artist's life, creativity and growth may be synonymously bibicessed in the image of an archetypal tree. Beginning with the earthly descendent |
Toots the artist like the tee branches out into is surrounding environmental and celestial world, Both ascend and descend, widening their gimth of consciousness
while producing visual imagery, weathering cach season of change. Thus, I believe it is the nature of the artist and of nature itvelf to regenerate and manifest. All
af Uke imagery in this catalog (iba) was either created cn plein alr or from the subject directly, ~

My joumey to becoming an artist teagan many years ago. The consanguineous roots of ney Italian fanuily tree provided me with an innate constitution for my
artistic profession, When TE was a tiny seed of contemplative thought, my artistic nature began 1 sprout interest while gazing up at the ceiling paintings in a
neighborhood church named Regina Pacis, meaning Queen of Peace, The church located in Brooklyn, NY features ceiling paintings. sculptures, marble interiors,
and incorporates architectural elements for the facade and the belfry that are of Italianate design, Before the age of three | was able to surmise that the church in
the ceiling poknting was indeed the church I was in. The visual stinwlarion was a focn of education. It fostered my sense of perception which beeame my strangest
mode for agquring knowledge. f i 4 f f ps |

As the years unlorled, my farnily moved to Staten Island. At Us tinte it was a scenic field of Luminosity, lush vegetwtion and a harbor view complete with sail

boats and small yachts. A few years after we moved my tree of life was in jeopardy of loosing a limb. What uppeared te be a swollen leg was indeed a cancermus
tuner. TL was am ulniost fatal or perhaps even a fated ovcutrence in my life, The struggle to survive the experience was lightened by my imagination and by my
artistic ability to create. 1 seriously thought f woald go into medicine but the posters and paintings in the hospital and doctor's alfies held my attention mace
intensely.

  
 
 
  
  
  
  
   
   
   
  

 

Tbegaa my formal taining at The Brooklyn Museum Sehool of Art while I was in high schoo). The exposure to various forms of ax inspired me to expand may
horizons and in the carly Eighties I traveled on a summer tour 16 Furrope, The tour coniprised of six countries: Germany, Austria, France, haly, Switeertand and |
England. Viewing so many different cities and cultures in a concentrated padod of time helped nv La see the similarities as well as the differences of each quite
clearly. j j , i i

4) Upon my rectum | earotled in an ani history course to exurnlae the cnatent of art in relation fo its chronological, political and historical relevance while applying to

art colleges. I was accepted to Parsons School of Design focated in lower Manbatian, The pulsating pace of this compressed cosmopolitan city was reficcted tn he |
school's curriculum, Altough f did enjoy the challenges and experiences which expanded my capabilities, I was nol satisted with the level of my drawing and |
painting saills, In the mid Eighties I attended ‘The New York Academy of Art which focused on teaching the history and traditional techniques from periods of art,
such as the Halian Renaissance, the classical and neoclassical perinds in France, as well as the Spanish, Dutch and Fleming masters. Here I studied cast druwing,

grisuille painting. anatomy, dissected cadavers, yet niost influential t me was geomelry and perspective.

  

 

Daring this period [wraveled once again to France and [uly to study with my teachers whe offered summer clisses in wrt history, drawing and painting. 1

rementher when Twas in thet French countryside feeling as IPE was walking into a huge painting, The views felt so lamiltar due tothe talents of Monet, Pissarro,

VanGogh, ete. In my solinide 1 would envision then, particularly VanGogh fn a wheat field painting or see the circular hay stacks change colors by sunset right

before my cyes. The truth cuptured in their paintings a century ago fell so real to nie, il spiraled an indelible influence. This experience still inspires me to surive
towards cupluring my subjects with a sense of presence and atmosphere, Visiting Italy again, my ancestral homeland. sharpened my acuity and atiraction to works

of art on Uniquely shaped canvases. There were so many moments that will he with me throughout my life, most notable was to see the chariot markings while

walking in the ruins of ancient Rome. or to hear bells toll in St, Mark's Square, amd te be within inches of some of the most revered art i the world.

When I returned t the States, the desire to develop artwork in various mediums became the goal. f started attending The National Academy Schou! of line Arts
to explore and prefeel the meds of pastels and figure painting, and alsa t study prinuniaking. During this time Iwas employed at The National Academy
Museum, The Acudeny and its intriguing history filled the chasie of my Knowledge for the heritage of American art while also infonning me of the cultural
Gevelopments in ny country, particulary those in New York. The opportunity to read the Academy's books while I was working at the Museum, was an
calightening experience. 1 leamed, minst Imperantly, about the Hudsoa Rivdé School painters aud their personal involvement with weitenipoet William Cullen
Bryant. This relationship between artists amd writers of that lime initiottd the untoldment of Central Park. The Park, which is adjacent j The National Academy
Muscum was already charted territory for nly artistic expression, Learning abnut the creation of the Park intensified my passion for depicting it.

     
  

During my tenure at The Academy, a conversation with a museum visit fed to my interest in te W.B, Yeats Saciety of New York , und anuther tip abroad

Coincifeatally and perhaps synchroaistically [had been attending lectures on Theosophy about the same dime I was learning about Yeats. Crucial to my personal |
and professional development aq that time was my comprehension of why Theosophy inflveaced the modern movenwal in the Acts, Yeats, ike many other writers,

musivians, and artists stich as Mondeian and Klce, ete. drew inspiration fans the philosophical texts written by the robust Russian, Madame Blavatsky. Within a

few months [had yoa a schobaship wader the suspices of the Yeats Summer School in Sligo, Ireland via the Yeats Society of New York,

; A short trip t¢ Landon, preeeded the Summer School. where | hunted down Joon Singer Sargent’s charcagl sketch of Yeats at the National Portrait Gallery. This

| inspired a trip to the Tate, and severe other collections. Traveling te Englint fiost sec the stage tor the political, personal. and tistarical dynamics that 1 was about
lo encountec regarding the legacy of Years and of Ireland. Before the school commenced, there was a ceremonial service at Drimcliff Church where Yeats is
buried. The picturesque view and the enigmatic words of bis icy epitaph becante etched in my memory on that day and inspired me to create a painting titled after
his pocan "Under Beabylbea’ which elaborates on bis immortal words, To beam about his family, his life and his Vision motivated me to begin a mew chapter in
creating my Own work,

 

To culminate my journey, when [returned home 1 gathered the nictaphnnical leaves snd branches that had Callen Irom iny artistic tree, be it ancestral ar archety pal |
and concentiated solely oo “Fhe Holy Tree’ described in Yeats’s poem “The Two Trees,” This image. inspired by Ute milieu of a mentor miles away is a tnbute w |
his gifts and determined ways which regenerated and awakened the visionary in me. This upconting catalogue hightivhts the pictorial progression from that trip

tad the time that followed. j

 
  

Dwish to acknowlede certain individuals who kave enhanced ayy artistic sensibilities as a person, as well 2s an artist. These individuals include Eveoct Raymond |
Kinstler, Raymond Steiner, Harvey Dinnerstein, Burton Silverman, the artist's in The Painting Group particularly Auson Shikler, David Levine, Danny Sehwarte,

ne iTecht, Piank eit CF thelr help and euidiie
(e MOT

  

         

   

Alb work oa this site dire @Annannarle Trombetta. All rights reserved.

 
 

Case T18-Cv-U0993-LTS-SLC Document 504-1 Filed 06/14/23 Page 29 of 29

Annamarie Trombetta

elaborates on his immortal words. To learn about his family, his life and his vision
| motivated me to begin a new chapter in creating my own work.

To culminate my journey, when I returned home I gathered the metaphorical leaves

and branches that had fallen from my artistic tree, be it ancestral or archetypal and
concentrated solely on "The Holy Tree! described in Yeats's poem "The Two Trees."
This image, inspired by the milieu of a mentor miles away is a tribute to his gifts and

determined ways which regenerated and awakened the visionary in me. This
upcoming catalogue highlights the pictorial progression from that trip and the time
that followed.

I wish to acknowledge certain individuals who have enhanced my artistic sensibilities
as a person, as well as an artist. These individuals include Eyerett Raymond Kinstler,
Raymond Steiner, Harvey Dinnerstein, Burton Silverman, the artist's in The Painting
Group particularly Aaron Shikler, David Levine, Danny Schwartz, Irene Hecht. |
thank them for their help and guidance in my life.

 
 
  
 
 

rights reserved. ~
g reg

_—

   

‘DM@A

https ffvoww.trombettaart com!bio. hte!
